               Case 19-30460-wva            Doc 46   Filed 08/20/19   Page 1 of 3



                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

IN RE:                                                                CASE NO.: 19-30460-LKG
                                                                                CHAPTER 13
LEO TIGUE
aka Leo Tigue, Jr.
aka Leo N. Tigue, Jr.
dba Kurrin & Richards Inc.
      Debtor,
________________________________/

RESPONSE TO CHAPTER 13 TRUSTEE’S AMENDED OBJECTION TO THE PROOF
      OF CLAIM OF FINANCE OF AMERICA REVERSE, LLC (Claim #16)

       COMES NOW Finance of America Reverse, LLC (“Secured Creditor”), by and through

its undersigned attorney, hereby files its Response to Chapter 13 Trustee’s Amended Objection

to the Proof of Claim of Finance of America Reverse, LLC (“Amended Objection”), (DE# 32),

and in support thereof states as follows:

       1. Secured Creditor holds an interest in Debtor’s real property located at 180

           PORTMARNOCK LANE, WELDON SPRING, MISSOURI 63304.

       2. Secured Creditor timely filed its Proof of Claim, Claim No. 16, on June 14, 2019.

       3. Pursuant to Federal Rule of Bankruptcy Procedure 3001(f), a proof of claim (and, by

           extension, supplemental proof of claim) executed and filed in accordance with the

           Bankruptcy Rules “shall constitute prima facie evidence of the validity and amount of

           the claim.”

       4. On July 25, 2019, the Trustee filed an Amended Objection, asserting allegations

           opposing Secured Creditor’s claim.

       5. Trustee asserts the secured creditor failed to attach evidence of its perfected security

           interest as required by FRBP 3001(d) and without evidence of the perfection of the
       Case 19-30460-wva         Doc 46     Filed 08/20/19     Page 2 of 3



   Creditor’s security interest, the Creditor’s alleged status as a secured cannot be

   determined.

6. Secured Creditor requires additional time to review its records and investigate the

   issues raised in Trustee’s Amended Objection, and requests a hearing be set on same.

7. Secured Creditor reserves the right to supplement its Response to Trustee’s Amended

   Objection at any time before or at the hearing.

       WHEREFORE, Creditor respectfully requests that this Honorable Court

overrules Trustee’s Amended Objection and allows Secured Creditor's Proof of Claim as

filed so as to preserve Creditor's Claim, and for such other and further relief as the Court

may deem just and proper.



                                      RIEZMAN BERGER, P.C.


                                      /s/ Kathryn A. Klein
                                      Kathryn A. Klein #06199235
                                      7700 Bonhomme Ave., 7th Floor
                                      St. Louis, MO. 63105
                                      (314) 727-0101
                                      Attorneys for Secured Creditor
                                      klein@riezmanberger.com
               Case 19-30460-wva        Doc 46     Filed 08/20/19   Page 3 of 3



                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on August 20, 2019, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served

via CM/ECF or United States Mail to the following parties:

DEBTOR
Leo Tigue
180 Portmarnock Lane
Saint Charles, MO 63304

DEBTOR’S COUNSEL
Jerry D. Graham, Jr.
JD Graham PC
1 Eagle Center
Suite 3A
O’Fallon, IL 62269

TRUSTEE
Russell C. Simon
Chapter 13 Trustee
24 Bronze Pointe
Swansea, IL 62226




                                             RIEZMAN BERGER, P.C.


                                             /s/ Kathryn A. Klein
                                             Kathryn A. Klein #06199235
                                             7700 Bonhomme Ave., 7th Floor
                                             St. Louis, MO. 63105
                                             (314) 727-0101
                                             Attorneys for Secured Creditor
                                             klein@riezmanberger.com
